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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


                                                  )
  NATIONAL RIFLE ASSOCIATION OF                    )
  AMERICA,                                        )
                                                   )

                                                   \       CaseNo.l:18-cv-639
                                                   )       Hon. Liam O'Grady
          V.
                                                   )
   LOCKTON AFFINITY SERIES OF                      )
   LOCKTON AFFINITY,LLC,ET AL.,                    )
                         Defendants.               )
                                                   )

                                            ORDER


       This matter comes before the Court upon review of the Application to Qualify as a

Foreign Attorney Under Local Civil Rule 83.1(D) and Local Criminal Rule 57.4, filed by
Plaintiffs counsel William Andrew Brewer III on June 19. 2018. Dkt. 13. In his application, Mr.
Brewer certified, inter alia, that he had "not been reprimanded in any court. Nor has there been

any action in any court pertaining to [his] conduct or fitness as a member ot the bar. Plaintiffs
local counsel Robert H. Cox sponsored Mr. Brewer's application. Based upon the findings of
fact and conclusions of law detailed in Brewer v. Lennox Hearth Prod.. LLC. 546 S.W.3d 866

(Tex. App. 2018), the Court finds it necessary to hold a hearing on this matter to make further
inquiry into the accuracy of counsels' certifications to this Court. Accordingly, it is ORDERED
that William Andrew Brewer 111 and Robert H. Cox appear before this Court on Friday.

September 14. 2018 at 10:00 a.m.


 August      2018                                            LiamO'Grad)^
 Alexandria. Virginia                                      ' United States District Judge
